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American Medical Response, Inc. v. City of Stockton
United States District Court- Eastern District No. 2:05-CV-01316-DFL-PAN

MEYER DEPO PART 1

AMERICAN MEDICAL RESPONSE, INC.

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IN THE UNITED STATES DISTRICT COURT

IN AND FOR THE EASTERN DISTRICT OF CALIFORNIA

a Delaware Corporation,
Plaintiff,
vs.

CITY OF STOCKTON, a California
Municipality

Defendants.

AND RELATED CROSS ACTIONS

DEPOSITION OF LOUIS MEYER

DATE: Monday, August 8, 2005 at 10:00 a.m.

DEPOSITION OFFICER: BOBBIE JO HARR
CSR No. 6090, RMR

TAKEN AT:

GAROUTTE'S

120 North Hunter Street, Suite 104
Stockton, California 95202

GAROUTTE'S
Certified Shorthand Reporters
120 North Hunter Street, Suite 104
Stockton, California 95202
(209) 942-2100 or Nationwide (800) 942-2103
FAX (209) 942-2150

No. 2:05-CV-01316-DFL-PAN

RF

LOUIS MEYER,
the deponent herein, having been first duly and regularly
sworn by the Certified Shorthand Reporter, deposed and

testified as follows:

** EXAMINATION BY MR. HIGGINS **
MR. HIGGINS: Q. Good morning, sir.
A. Good morning.
Q. My name is Mike Higgins. Would you please state
your name, for the record?
A. Yeah. Louis Meyer.
Q. Mr. Meyer, do you realize that the oath that
you've just taken is the same oath that you would take in

a court of law in California before testifying?

A. Yes.

Q. Have you had your deposition taken before?
A. Once.

Q. When was that?

A. Back in '96 or '97.

Q. Where was it taken at?

A. Where was the deposition taken?

Q. Yes.

A. Sacramento.

Q. What was the nature of the lawsuit?
A. It was an anti-trust case.

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Q. Who were the parties?
A. The City of Sacramento and American Medical
Response.

Q. Who was the plaintiff?
A. The City of Sacramento.
No, excuse me. AMR was the plaintiff.
Q. You sued the City of Sacramento -- AMR sued the

City of Sacramento.

A. That's correct.

Q. When you say "AMR," you mean American Medical
Response?

A. That's correct.

Q. If we refer to it as "AMR," you understand me to

mean the company?
A. Exactly.

Q. Okay. As you probably remember, the procedure's

pretty straightforward. I ask questions, you answer

questions. . Occasionally your attorney may state
objections, for the record.
Unless your attorney instructs you not to
answer a question, you should answer a question.
Do you understand that?
A.. I do.
Q. Okay. If something I say is unintelligible to

you, if I mumble or if it is just confusing, you don't

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understand, please let me know. I'll try to figure out

what's wrong with the question and fix it, okay?

A. Okay.

Q. Are you employed?

A. I am.

Q. Who is your employer?

A. American Medical Response.

Q. And that's AMR.
What's your position with AMR?
A. I'm a Regional Chief Executive Officer.
Q. How long have you been a Regional Chief Executive
Officer for AMR?

A. Since '96.

Q. What region are you Chief Executive Officer of?
A. The northwest plains region.
Q. Has that region remained essentially the same in

scope during the period of time that you've been regional

CEO?
A. No.
Q. How is it changed?
A. It included -- the Rocky Mountain-Plains area was

included in the region approximately a year and a half
ago.
Q. To whom do you report to at AMR?

A. Currently I report to the president and the chief
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operating officer.

Q.. Is that the same person?
A. The president and chief operating officer is one
“individual.

Q. And who is that?

A. Don Harvey.

Q. And does Mr. Harvey report to anyone at AMR?
A. To the board of directors.

Q. Before you were a regional CEO, did you have a

position with AMR?

A. Yes.
Q. What was that position?
A. I was Chief Operating Officer for their Northern

California division.
Q. When did you become Chief Operating Officer for
the Northern California division of AMR?
A. 1993.
Q. Are AMR's operations national in the United
States in scope?
MR. DELEHUNT: Objection, vague.
You can answer.
THE WITNESS: AMR is a national company, yes.
MR. HIGGINS: @Q. Does AMR do business in every
state in the United States?

A. No.
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Q. Do you know how many states in the United States
AMR does business in?
A. I believe it is 32.
Q. In June of this year, Mr. Meyer, you personally
of Stockton and AMR; is that right?
A. Yes, sir.
MR. DELEHUNT: Objection. Vague and overbroad.
Mr. Meyer, please give me a chance to put an
objection on the record, if I need to.
MR. HIGGINS: Q. Did you personally make the

decision to terminate that business relationship?

Q. And did you consult with anyone else at AMR

before you made that decision?

A. I did.

Q. Okay. With whom did you consult?

A. Don Harvey, the Chief Operating Officer.

Q. And when did you consult with Don Harvey about

terminating that business relationship?

A. The day before.

Q. And what day was that, do you recall?

A. I don't recall the date. I'm sure it is on the
record.

Q. Okay. How did you consult with Mr. Harvey?

terminated a joint business relationship between the City

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A.

Q.

day?
A.
Q.
A.
Q.
A.
Q.

meeting?
A.

Q.

to?

phase?

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Mine through Mike Hakeem.

Okay. So did you tell Mr. Lewis that you wanted

to meet with him without the other people present on this

I believe initially, yes.

Okay.

When I first entered the room.

So the other people left the room?
Yes.

And then you entered the second phase of the

No, that was still the first phase.
Okay. And -- okay.

How long did this first phase last after the

other people left, you and Mr. Gillis and Mr. Lewis,

alone in the City Manager's office?

Maybe 15 minutes.

And Mark Lewis was the City Manager you referred

Yes.
When did the second phase of the meeting begin?
Immediately following.

Okay. And what happened during this second

Mark Lewis requested the other parties to come
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back into the room and for me to again reiterate what I
had just told him and the Chief.

Q. Okay. What did you tell Mr. Lewis and Chief
Gillis during the first phase of the meeting?

A. I stated that I had hoped that this day had never
come, and that I needed to let them know that we were not
going to be able to continue in building a joint RFP
because we were unable to meet the terms of an Agreement.
And that I believed that it was in both the City's
interest and AMR's interest to make that notification
prior to the RFP being released, which at that time was
scheduled for July 12th.

MR. HIGGINS: Could you read that answer back to
me again, please?

(Whereupon the record was read.)

MR. HIGGINS: Q. Building a joint RFP, was that
the purpose of the business relationship that you
terminated on that day with the City of Stockton?

A. Yes.

Q. Okay. When you say that you were unable to meet

the terms of an Agreement, what terms were you unable to

meet?
A. I don't believe I used the word "terms."
Q. I'm sorry. I was simply repeating what I heard |

from the court reporter.
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A. We weren't able to reach an agreement on the

terms.

Well, we were -~ we were attempting to put
together not only a Joint Venture Agreement, but a
Operating Agreement. And in doing so, we were trying to
nail down what each party would be responsible for ona
cost perspective. And we were unable to reach agreement
on those items.

Q. Is it your recollection that at this time in June
of 2005, AMR was engaged in negotiations over the terms of
A Joint Venture Agreement with the City of Stockton?

A. Yes.

Q. Okay. Isn't it a fact that at this time in
June 2005 when you terminated the business relationship
between AMR and the City of Stockton, a joint venture
involving those two parties already existed?

MR. DELEHUNT: Calls for a legal conclusion.

You can answer.

THE WITNESS: My perspective was we were still
negotiating terms of that Agreement.

MR. HIGGINS: Q. Which terms of that Agreement
were you, AMR and the City of Stockton, still negotiating?

MR. DELEHUNT: Objection, overbroad. Vague.

You can answer.

THE WITNESS: All of them.
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MR. HIGGINS: Q. What were those terms, to your
recollection?

MR. DELEHUNT: Same objection.

You can answer to the best of your
recollection.

THE WITNESS: We were, again, attempting to
negotiate the structure of the Limited Liability
Corporation. We were attempted -- attempting to negotiate
the overall costs associated with the Limited Liability
Corporation. Those were the main issues that we were
Still trying to get through, and we weren't -- we had
never moved on to anything else in reference to an
Operating Agreement --

Q. Okay.
A. -- because of the difficulty we were having with

the initial discussions.

Q. How long had these initial discussions gone on?
A. Two years.
Q. You mentioned a Limited Liability Company. So

you were negotiating an agreement to form a Limited
Liability Company, a Joint Venture Agreement, and an
Operating Agreement at the same time?

A. Correct.

Q. Isn't it a fact that AMR -- during this two-year

period of negotiation, that people at AMR during this
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two-year period of negotiation, regularly and repeatedly

referred to the business relationship with the City of
Stockton to build a joint RFP as a joint venture?

MR. DELEHUNT: Vague and compound. Calls fora
legal conclusion. Calls for speculation.

MR. HIGGINS: Q. Isn't that a fact?

MR. DELEHUNT: Same objections.

THE WITNESS: No, it is not.

MR. HIGGINS: Q. So the people at AMR did not
refer to the business as a joint venture. That's your
testimony?

MR. DELEHUNT: Same objection.

THE WITNESS: Well, what my knowledge is that we
were working towards the negotiation of the joint venture,
so I'll just leave it at that.

MR. HIGGINS: Q. But my question is, did people
at AMR refer to this business relationship with the City
of Stockton regularly and repeatedly as a joint venture,
the actual business relationship that existed?

MR. DELEHUNT: Objection. Calls for a legal
conclusion. Asked and answered. Overbroad and vague.

THE WITNESS: The end result would have been a

joint venture.

MR. HIGGINS: Q. Well, I understand that part of

your testimony, sir.

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had the ability -- equal ability to seek their own

approach.
Q. Why was that AMR's best interest?
A. Well, I was hoping that we wouldn't end up where

we are today, and that is in a legal challenge.

QO. So you thought that if AMR terminated the
business relationship before the RFP came out, AMR's legal
exposure would be reduced?

MR. DELEHUNT: Calls for a legal conclusion.

THE WITNESS: Yes.

MR. HIGGINS: Q. Did anyone representing AMR
contact the Board of Supervisors of San Joaquin County and
report back to you about the RFP process before you
decided to terminate the business relationship with the
City of Stockton which you've been testifying about?

MR. DELEHUNT: Vague, ambiguous, as to time.

You can answer.

Also overbroad.

THE WITNESS: We had numerous communications with
the Board of Supervisors in reference to the RFP process
prior to them even hiring consultants to move forward with
an REP.

MR. HIGGINS: Q. Okay. Did AMR have a
representative who tested certain ideas related to a

potential to RFP with any of the supervisors?
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MR. DELEHUNT: Vague and ambiguous, overbroad,
calls for speculation.

You can answer.

THE WITNESS: Yes.

MR. HIGGINS: Q. Who tested members of the Board
of Supervisors in this way?

MR. DELEHUNT: Objection.

You can answer.

I think we're tripping on our lines a little
bit. Part of that is my fault. I just have to slow
down.

THE WITNESS: Don Parsons.

MR. HIGGINS: Q. Okay. Did Don Parsons report
back to you personally about the results of his testing of
the supervisors?

_MR. DELEHUNT: Vague and ambiguous and overbroad.

THE WITNESS: Yes.

MR. HIGGINS: Q. Did anything that Don Parsons
told you about the testing of the Board of -- the
supervisors, add to your decision to terminate the
business relationship?

MR. DELEHUNT: Vague and ambiguous as to the
definition of "testing" and other elements of the
question, but you can answer.

THE WITNESS: The testing of the board was prior
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to my decision by a good period of. time.
MR. HIGGINS: Q. Excuse me. Finish, please.

A. The rationale for the testing was for both
parties, the City and AMR, to have some type of an
understanding of the tolerance that the board would have
had for increased cost not associated with the deployment
of an ambulance transportation system.

Q. How long before you reached your decision to
terminate the business relationship with the City of
Stockton did this testing with the Board of Supervisors
occur?

MR. DELEHUNT: Vague and ambiguous.

THE WITNESS: I believe it was at least six
months.

MR. HIGGINS: Q. Did you -- well, first of all,
let's back up.

Do you know how Mr. Parsons tested the

supervisors?
A. No.
Q. Did Mr. Parsons use the term "test"?
A. That was my term.
Q. Your term.

Did you instruct Mr. Parsons to test the Board
of Supervisors on certain issues?

A. I did.

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(Whereupon Plaintiff's Exhibit 4 was

marked for Identification.)

MR. HIGGINS: Q. Mr. Meyer, would you please
take a look at the document that the court reporter has

marked Exhibit 4.

A. Okay.

Q. Do you recognize the document that's been marked
Exhibit 4?

A. I do.

Q. For the record, the document bears the Bate stamp

CS 001803, 001804.

Is that your signature at the bottom cf the

first page of Exhibit 4?

A. It is.

QO. Did you send this letter to Mark Lewis?

A. I did.

Q. Did you send it on or about June 24th of this
year?

A. I did.

Q. Did you draft this letter yourself, sir?

A. I did.

Q. Did anyone review it before you sent it?

MR. DELEHUNT: I would instruct you that if
there's any attorney/client communication involved in

that process, that you refrain from answering the
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question.

MR. HIGGINS: Q. The answer to the question is
either yes or no. That wouldn't disclose any
attorney/client information. The next question he might
appropriately --

MR. DELEHUNT: That's fair enough.

You can answer that question.

MR. HIGGINS: Q. Did anyone review this letter
before you sent it, sir, Exhibit 4?

A. Yes.
Q. Who reviewed it?

MR. DELEHUNT: If it is a situation where you'd
be disclosing attorney/client communication, I instruct
you not to answer.

THE WITNESS: I can't answer the question.

MR. HIGGINS: Q. Very well.

You see the large paragraph here in the middle

of Exhibit -- the first page of Exhibit 4?
A. Yes.
Q. You see the -- the number 2 in parentheses about

two-thirds of the way through that paragraph?
OA. Yes.
Q. Does this refresh your recollection that during
the meeting that you had with Mr. Lewis and Chief Gillis,

that you talked about damage to reputation was one of the
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reasons that you were terminating the business
relationship with the City of Stockton?

A. Yes, I did state that.

Q. To the best of your recollection, when you talked
about damage to reputation, what did you say?

A. Actually, what's drafted in this June 25th Letter
is what I said.

Q. And what's that? What part of this letter?

A. It would be the last sentence of the letter. The
last sentence of that paragraph.

Q. So you said AMR and you -- you said -- you
specified both of you.

A. I did.

Q. Would not damage both of your reputations; is
that right?

A. Yes.

Q. Okay. And then you explained that the damage
would flow from submission of a proposal to the county,

that you then go on to describe in the letter?

A. Yes.
Q. How would that damage your personal reputation?
A. I have a 30-year reputation of submitting

proposals to numerous counties throughout the state, or
actually the country, that are responsive and competitive.

Q. Have you ever submitted responses to proposals

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that weren't effective, that didn't result in the award of

A.

Q.

a contract?

Yes.

Overall, you say you submitted proposals on

behalf of AMR; is that correct?

A.

Q.

That's correct.

How many such proposals do you believe that you

submitted personally on behalf of AMR?

to time,

A.

Q.

MR. DELEHUNT: Objection. Overbroad and vague as
but you can answer.
Calls for speculation, perhaps.

THE WITNESS: It would be a wild guess.

MR. HIGGINS: Q. More than a hundred?

No, I don't believe hundreds --

More than 50?

Could be.

And what percentage of the time do you fail to

get the award of a contract --

MR. DELEHUNT: Calls for --
MR. HIGGINS: Q. -- in that history?

MR. DELEHUNT: I'm sorry. Calls for speculation.

It is vague and ambiguous.

THE WITNESS: Less --
MR. DELEHUNT: Incomplete hypothetical.

Excuse me. Please go ahead and answer.
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THE WITNESS: I believe it is less than
one percent.

MR. HIGGINS: Q. Going back to the paragraph
here in the middle of the first page of Exhibit 4, do you
see the sentence there that's introduced by the number 1
in parentheses?

A. Yes.

Q. See at the end the phrase beginning, "Thereby
causing significantly higher rates"?

A. Yes.

Q. Now, is what you were describing in that phrase

that begins "Thereby causing,” is that directly related to

the phrase at the end of the paragraph there, "Excess
costs not related to the Provision of emergency ambulance
services"?
MR. DELEHUNT: Vague and ambiguous as phrased,
compound.
You can answer.
THE WITNESS: Can you ask the question again?
MR. HIGGINS: Q. Yeah. The description that
begins, "Thereby causing," okay?
A. Okay.
Q. And does that relate directly to the phrase at
the very end of the paragraph, "Excess costs not related

to the provision of emergency ambulance services"?

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MR. DELEHUNT: Argumentative. Asked and
answered. Misstates prior testimony.
MR. HIGGINS: Q. Isn't that right?
A. I did not have -- that particular conversation I
did not have directly from Chief Hafey.
Q. Okay.
A. Well --
MR. DELEHUNT: If there's something that's
inaccurate and you feel you should correct it.
THE WITNESS: It is not inaccurate. It is -- can
we take a moment?
MR. DELEHUNT: Yes. We can, if you'd like. Take
a couple minutes.
MR. HIGGINS: Yes. A couple minutes is fine.
(Recess. )
MR. HIGGINS: Q. Back on the record.

Did you want to make any statement of

clarification?
A. No.
Q. Okay.

MR. HIGGINS: Let's mark next in order here.
(Whereupon Plaintiff's Exhibit 5 was

marked for Identification.)

MR. HIGGINS: Q. Would you take a look at. this,

please.
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A. Okay.

Q. Do you recognize the document that the court
reporter has marked Exhibit 5, sir?

A. I do.

Q. On page 3 of this Exhibit 5, is that your
signature?

A. It is.

MR. HIGGINS: For the record, Exhibit 5 bears the

Bate numbers 002583 to 2585, dated June 24th, 2005.
Q. Did you draft this letter, sir?
A. I had a hand in drafting this letter.
Q. Who else assisted in drafting this letter?

MR. DELEHUNT: If your response would require you
to reveal communications with legal counsel, I instruct
you not to answer at this point.

THE WITNESS: I can't answer.

MR. HIGGINS: Q. Did anyone other than an

attorney assist you in drafting Exhibit 5?

A. No.

Q. When was the final draft of this letter
completed?

A. It was either the late afternoon of the 23rd, or

the morning of the 24th of June.
Q. Did you personally hand deliver this letter to

Mark Lewis at the City of Stockton?
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A. No, I did not.

Q. Does this letter, Exhibit 5, memorialize the
meeting that you have described where you notified the
City of Stockton that AMR was terminating the business
relationship?

MR. DELEHUNT: Objection, vague.

But you can answer.

THE WITNESS: Yes.

MR. HIGGINS: Q. Okay. Before that meeting
started, had anyone else working for AMR reviewed this
ietter, Exhibit 5?

MR. DELEHUNT: Objection, assumes facts not in

evidence.
THE WITNESS: Depends on your definition of
"reviewed."
MR. HIGGINS: Q. Seen it?
A. Yes.

Q. Okay. Who at AMR had seen the final draft of
this letter before the meeting commenced which you've
described?

MR. DELEHUNT: Assumes facts not in evidence, and
contradicts prior testimony as to why the letter was
created.

THE WITNESS: This letter, folks had knowledge

that this letter was being delivered. Those individuals
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A.

Q.

Yes.
Personally?
Yes.

Did anyone else at AMR review the terms before

you signed it?

MR. DELEHUNT: Answer the question, if you can

exclude legal counsel's reviewing it.

if any?

Did anybody else at AMR besides legal counsel,

MR. HIGGINS: Well, anybody else. He can answer

yes or no. It doesn't reveal anything except that

somebody reviewed it. And then I have no intent to

improperly invade any privilege.

Q.

So did anyone else representing AMR, other than

you, review the 2003 Agreement that you described before

you signed it?

A.
Q.

than you,

Yes.
Did any nonattorney affiliated with AMR, other

review the terms of that 2003 Agreement before

you signed it?

A.

involved

I'm trying to think back.

Again, I don't recall if Barry Elzig was yet

in the process. If he was involved in the

process at this point, he would have reviewed it.

Q.

Okay. Can you take a look at what was earlier

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(Whereupon Plaintiff's” Exhibit 8 was

marked for Identification.}

MR. HIGGINS: Q. Okay. For the record, what the
court reporter has marked Exhibit 8 is Bates stamped --
two pages Bate stamped AMR 002683 to 2684, a letter on the
letterhead of Hakeem, Ellis and Morengo.

Have you seen Exhibit 8 before, Mr. Meyer?

A. I believe so.

Q. Okay. On the second page BCC that -- you're at
the top of the list, Lou Meyer; is that correct?

A. Yes.

Q. Were you aware in June of 2003 that your
attorney, Mr. Hakeem, was negotiating with members of the
City Attorney's office at the City of Stockton to modify

the terms of Exhibit 1 that you've already looked at here

today?
A. Yes.
Q. Do you recall if the terms of Exhibit 1 in fact

were modified in June of 2003 as described in this Letter,
Exhibit 8?

A. I don't recall if a new document was drafted and
signed. I do recall agreeing to the content of this
letter to Mike Rishwain.

Q. Who is Donna McCann?

A. She was the president of A-1 Ambulance Service in
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Stockton.

Q. And initially, was Ms. McCann's company a member
of the joint effort to build a tesponse to the RFP that
began involving the City of Stockton and AMR in 2003?

A. Yes.

Q. You say that Ms. McCann "was." Is her company
still in existence?

A. Tt is not.

Q. How do you know that?

A. Because her company went bankrupt.

Q. Do you know how old Ms. McCann is now?

A. I would say her early sixties.

Q. Do you recall the type of involvement that

Ms. McCann had in the joint effort to build the RFP in
2003?

A. She was involved in some of the initial
discussions, yes.

Q: How many ambulances did Ms. McCann's company
operate in 2003?

A. Two, but I don't believe they were both
full-time.

Q. In 2003, when the City of Stockton and AMR were
working to build joint RFP, AMR was operating ambulances
within the City of Stockton, correct?

A. Yes.

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this joint effort?

MR. DELEHUNT: Vague and ambiguous.

THE WITNESS: I don't understand "orders."

MR. HIGGINS: Q. Well, did he tell them what to
do in connection with the effort to build a joint RFP?

MR. DELEHUNT: Vague and ambiguous. Calls for
speculation.

THE WITNESS: His comments were more along the
line of this is what the City Manager wants.

MR. HIGGINS: Q. This joint effort, was any one
Serson in charge of saying, "Here's what we're going to do
and how we're going to do it"?

MR. DELEHUNT: That's vague and ambiguous.
Overbroad.

MR. HIGGINS: Q. To your knowledge --

A. Ask the question again.

Q. To your knowledge, was any one person in charge
of deciding what the people involved in this effort to
build the joint RFP -- was one person saying, "Here's what
we're going to do and this is how we're going to do it,"
something like that?

MR. DELEHUNT: Vague and ambiguous.
THE WITNESS: Again, it was clear to my
management team, as well as myself, that Dave Hafey was

driving the negotiations from the City's side, and I had
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Brad White driving it from my side.
MR. HIGGINS: Q. Okay. So Mr. White and

Mr. Hafey were collaborating in this effort?

A. Well, between Mr. White and Mr. Elzig, there were

communications with Dave Hafey.

Q. Okay. And on behalf of AMR, they collaborated

with Mr. Hafey in this effort to build a joint RFP in

2003, 2004?

MR. DELEHUNT: Vague and ambiguous, calls for

speculation.

THE WITNESS: I guess it depends on your term

“collaborate.”
MR. HIGGINS: Q. Yeah, work together.
A. They were attempting to do that, yes.

—Q. Okay.

MR. DELEHUNT: Counsel, can I interrupt you for

just a second, please?
We've gone just about two hours. What's

your -- what's your plan? Do you want to just take

about a ten-minute break and go through Lunch? Do you

want to break for lunch? I'll talk to my client about

what his preference is, but what's yours?

MR. HIGGINS: I want to just go through, if we

can do it. But if you want to take a lunch break,

do that, too.

I can

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MR. HIGGINS: Q. Did AMR ever consider including
the City of Tracy in the new Joint Venture Agreement in
2004?

MR. DELEHUNT: Calls for speculation as phrased.

THE WITNESS: Yes.

MR. HIGGINS: Q. Did you personally consider
that possibility in 2004?

A. Yes.
Q. Tracy did not join the others in the joint

effort, though; isn't that right?

A. Yes.
Q. Do you remember why?
A. I believe the chief of that department was not

interested in moving forward with a public-private

partnership.
Q. Do you recall having any meetings with people
from the City and the City of Lodi -- the City of Stockton

and the City of Lodi to negotiate the terms of the new

Joint Venture Agreement in 2004?

A. Yes.

Q. Did you participate in those meetings, you
personally?

A. I believe one.

Q. Okay. When was the one meeting that you recall?

A. You're trying to drag dates, and I can't remember

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all these dates. I don't recall the date. I do remember
the parties in the room.

Q. Who was in the room?

A. I believe that Chief Pretz was in the room, Chief
Gillis, Chief Hafey. ‘There was another gentleman that
Chief Pretz had with him, and I cannot recall his name.
And I believe during that meeting, the City's outside
counsel was in the room, and I think that Mike Rishwain
was in the room.

Q. And how long did that meeting last?

A. I would say a couple hours.

Q. Okay. Was there an actual Draft Agreement under
discussion in that meeting?

A. Yes.

Q. Did the meeting result ~- or end with anyone

Signing a written Agreement?

A. During that meeting?

Q. Yes.

A. No.

Q. How soon after that meeting -- how much time

elapsed between that meeting you recall and actual signing

of the Joint Venture Agreement in 2004?

A. I believe it was quite some time.
Q. More than a month?
A. I believe so.

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1 Q. Okay. Could you take a look at Exhibit 1 again.
2 And turn to the second page.

3 A. Of Exhibit 1?

4 Q. Yeah.

5 A. That's the first document.

6 Q. There you go.

7 In paragraph 4.

8 The second sentence, did you read that sentence

9 in this document before you signed it?
10 A. Are you talking about the sentence starting with

11 "If any party"?

12 Q. Yes.
13 A. Yes.
14 Q. And at the time that you signed this document,

15 did you have an understanding of what that second sentence
16 in paragraph 4 meant?

17 MR. DELEHUNT: Calls for a legal conclusion,

18 overbroad, vague.

19 THE WITNESS: My understanding of that sentence
20 is that once all the agreements were put together, that

21 once a proposal was ready to be submitted, that we would

22 not back away from it.

23 (Whereupon Plaintiff's Exhibit 9 was
24 marked for Identification.)

25 MR. HIGGINS: For the record, what the court
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reporter has marked Exhibit 9 is a multi-page document

Bates numbered AMR 003820 through and including 3824.

Q. Have you reviewed Exhibit 9, Mr. Meyer?

A. I have.

Q. Okay. See the first page, there's a printout of
part of an e-mail. Do you recognize that document, page
12

A. I recognize it as an e-mail.

Q. Okay. You don't recognize that particular

printout of the e-mail?
A. Well, looking at it, it appears I was copied on
it.
Q. But a document with this e-mail in it, have you
seen one before, a printed document?
MR. DELEHUNT: Excuse me, I'm sorry. Could you
read that back? I didn't hear.
MR. HIGGINS: I'll repeat it.
Q. A printed document containing this printed
e-mail, have you seen such a document before?
A. I don't know if it was printed or not or if I
Just read it on my e-mail system.
Q. Okay. The e-mail appears to be from Brad White,
and you're cc'd along with others.
And the text says, "Hi, Dave. With Lou and

Barry's input, I have created a revised Draft of your:

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Draft document."

Do you recall whether the time frame stated in
this e-mail, January 2004, you personally were working
on a draft of a new Joint Venture Agreement?

A. I would have reviewed one, yes.

Q. Okay. Turning over to what is the third page of

‘this document, it says, up at the top, "Draft Joint

Venture Agreement."
A. Yes.

Q. Okay. Who added that title, "Joint Venture

‘Agreement, " do you know?

A. It most likely came from Dave Hafey.

Q. What makes you think that?

A. Because he was the one doing the initial
drafting.

Q. But this is from Brad White going back to Dave

Hafey, and Brad White saying that the draft has been

revised and that you've been involved in the revising. So

isn't it possible that you and Brad White added this
legend "Joint Venture Agreement"?

MR. DELEHUNT: Calls for speculation. Calls for
speculation as phrased, vague and ambiguous.

THE WITNESS: Let me state that I did not put
that on the document.

MR. HIGGINS: Q. Do you know who did?

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A. No.

Q. Okay. Turn over to the next page. See paragraph

6 there?
A. Yes.
Q. Okay. Did you understand that -- that this term

and this proposed Agreement stated that first responder
fees would be part of the RFP proposal that the parties
would prepare?.

MR. DELEHUNT: Calls for a legal conclusion,
calls for speculation, incomplete hypothetical.

THE WITNESS: Ask your question again..

MR. HIGGINS: 0. Sure. Did you understand at
the time you were negotiating this Agreement, that this
term, this proposed term, provided that the RFP proposal
would include as part of the proposal first responder
fees?

MR. DELEHUNT: Same objections.

THE WITNESS: Yes.

MR. HIGGINS: Q. Okay. Looking back to Exhibit
l on page 2, in paragraph 6 on page 2. At the time that
you signed this document, Exhibit 1, did you understand
that that term, "All parties agreed to include as part of
the fee structure first responder and dispatch recovery
fees," did you understand that that term meant the parties

were agreeing to include first responder fees in response
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to the RFP?

MR. DELEHUNT: Calls for speculation, calls for a
legal conclusion, incomplete hypothetical, vague and
ambiguous.

THE WITNESS: At the time that we were discussing
that, yes.

MR. HIGGINS: Q. Okay. Looking, again, at
Exhibit 9, I'd like you to look at paragraph 4, Mr. Meyer.

A. Paragraph 4?

Q. Yes. This provision ends with "That party is
‘precluded from continuing in the bidding for a RFP in
Zones 1, 2, 3, 4 and 5."

Do you see that?

A. I do.

Q. Does Zone 5 encompass Tracy; is that right?
A. Yes.

Q. And Zone 4 encompasses Lodi; is that right?
A. I believe that's the sequence of the numbers.

Q. Okay. So 4 and 5 were here in paragraph 4
because at this time, AMR and the City of Stockton and A-1l
Ambulance were considering adding both Lodi and Tracy to
the venture; is that correct?

MR. DELEHUNT: Calls for speculation.

MR. HIGGINS: Q. Excuse me, sir, I didn't hear

your answer.
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1 A. I didn't answer yet.

2 Q. Oh, I'm sorry. I thought you did.

3 A. Yes.

4 Q. Okay.

5 MR. HIGGINS: Let's mark next in order.

6 (Whereupon Plaintiff's Exhibit 10 was

7 marked for Identification.)

8 MR. HIGGINS: And, for the record, the court

9 reporter has marked as Exhibit 10 a Single-page document
10 entitled "Agenda" at the top. It is Bates number AMR

11] 003461.

12 Q. Do you recognize Exhibit 10, Mr. Meyer?
13 A. No.
14 Q. You don't know if you've ever seen Exhibit 10

15 before?

16 A. No.

17 Q. Do you recall having a meeting in March of 2004
18 to discuss the then current draft of the new Joint Venture
19 Agreement?

20 A. I-- I don't recall if I had a meeting on March 4
21 or not.

22 QQ. In March, do you recall having a meeting?

23 A. Well, I don't recall this agenda, so there may

24 have been other discussions. I don't recall this agenda.

25 Q. Okay. So you don't know who drafted this agenda?
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A. Not by looking at it.
Q. You don't know who under .4 referred to
"currently a part of the joint venture” -- or, excuse me,

referred to "those currently a part of the joint venture"?
You don't know who wrote those words?
A. No.
MR. HIGGINS: Mark next in order.
(Whereupon Plaintiff's Exhibit 11 was
marked for Identification.)
MR. HIGGINS: For the record, the court reporter

‘has marked as Exhibit 11 a two-page document, Memorandum

letterhead of AMR. The document Exhibit 11 is Bates
numbered AMR 004107 and AMR 004108.

Q. Do you recognize Exhibit 11, Mr. Meyer?

A. ‘I do.

Q. Is this a Memorandum that you received from Brad
White in 2004?

A. Yes.

Q. Did you read this Memorandum when you received
it?

A. Yes.

Q. What is this -- the purpose of this Memorandum,

as far as you know?

A. Tt is an overview of the areas that Mr. White's

responsible for.
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Q. Looking down to the next to last entry on the
first page, "San Joaquin," that's a description of what's
going on in San Joaquin County; is that correct?

A. Yes.

Q. Okay. And you see the second bullet point, the
first sentence says, "Preliminary RFP work is underway
with SFD and A-1 Ambulance."

Is SFD Stockton Fire Department, to your

knowledge?
A. Yes.
Q. Okay. So when you read this, that's what you

understood that's what Mr. White was referring to?
A. Yes.
Q. And A-1 Ambulance is Ms. McCann's company?
A. Yes.
Q. "Preliminary RFP work underway." At this time,

did you know what preliminary RFP work was underway?

A. I don't know what -- to what extent, no.
Q. Okay. And then you see the next sentence,
"Anticipate LFD." Did you have an understanding what

"LFD" referred to?

A. Yes.

Q. What was that?

A. Lodi Fire Department.

Q. "Anticipate LFD joining the joint venture by

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May 2004."
When you read this, did you have an
understanding what Mr. White meant by "the joint

venture"?

A. Yes.
Q. What was it?
A. (It was the agreement that we were attempting to

respond to an RFP.

Q. Isn't it a fact that people at AMR repeatedly
referred to the effort to build a joint RFP as a joint

venture in 2004?

MR. DELEHUNT: Calis for speculation, calls for a

legal conclusion, incomplete hypothetical. Vague and
ambiguous.

THE WITNESS: I think the word "interchangeable
terms" is being used.

MR. HIGGINS: Q. But "joint venture" was the
term AMR used to describe the effort in 2004.

MR. DELEHUNT: Same objection. -

THE WITNESS: It may have been.

MR. HIGGINS: Q. Mr. White used it right there
in that exhibit, didn't he, Exhibit 11?

MR. DELEHUNT: Same objections.

THE WITNESS: Yes.

MR. HIGGINS: Q. Okay. Mr. White was

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